









 












 
  
  
  
  
  
 




&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NUMBERS

13-05-634-CV

13-06-031-CV

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; COURT OF APPEALS

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; THIRTEENTH DISTRICT OF TEXAS

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; CORPUS CHRISTI - EDINBURG

___________________________________________________________________

&nbsp;

JERRY BAROS, ET AL.,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellants,

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; v.

&nbsp;

AQUA
CHEM D/B/A CLEAVER BROOKS DIVISION,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee.

___________________________________________________________________

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On appeal from the 319th
&nbsp;District Court

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; of Nueces
County, Texas.

___________________________________________________________________

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; MEMORANDUM OPINION

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Before Chief Justice Valdez
and Justices Yanez and Garza

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Memorandum Opinion Per
Curiam

&nbsp;








Appellants, JERRY BAROS, ET AL., perfected an appeal from a judgment entered by
the 319th District Court of Nueces County,
Texas, in cause number 98-06468-G.&nbsp; After the notice of appeal was filed,
appellee, Aqua Chem d/b/a Cleaver Brooks Division, filed a motion requesting
that this Court sever and dismiss it from this appeal.&nbsp; In the motion, appellee states that
appellants agreed to nonsuit it from this matter prior to hearing and
mistakenly included it as a party to the appeal.&nbsp; Appellee requests that this Court sever and
dismiss Aqua Chem d/b/a Cleaver Brooks Division from this appeal.&nbsp; Appellants= appeal against appellee, AQUA CHEM
D/B/A CLEAVER BROOKS DIVISION, is severed from the original appeal and is
docketed under cause number 13-06-031-CV.

Having considered
appellee=s motion to dismiss
the appeal and the documents on file, this Court is of the opinion that the
motion should be granted.&nbsp; The motion to
dismiss appellants= appeal against
appellee, AQUA CHEM D/B/A CLEAVER BROOKS DIVISION, is hereby
granted.&nbsp; The appeal against appellee, AQUA CHEM D/B/A CLEAVER BROOKS DIVISION, in cause number
13-06-031-CV is ordered DISMISSED.&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The remaining issues in the appeal will
remain docketed under cause number 13-05-634-CV.

&nbsp;

PER CURIAM

&nbsp;

Memorandum Opinion delivered and filed this

the 2nd day of
February, 2006.





